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           Service Credit Union – Crypto Church of NH – 9598
Deposit Source    Transactions      Total        Connection to Business

    Cash              16          $26,752.25
   TOTAL                          $26,752.25

                                 PAYEES
       Payee                      Count                    Total
    Ian Freeman                     3                   -$65,567.00
      TOTAL                                             -$65,567.00
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Summary of Transactions
Crypto Church of NH, Signer: R      C. L
Service Credit Union Checking, A/C 9598 (closed)
January 2018 - June 2018

Post Date Type         Ckno         Memo              Payer/Payee       Credit Amount Debit Amount    Balance                        Notes

                                                Beginning Balance                                        $0 00
1/11/2018    C                                  Cash                           $15 00                   $15 00
3/12/2018    C         105      Church Donation Route 101 Goods, LLC       $20,000 00               $20,015 00 TD Bank, a/c 8273
4/26/2018    C                                  Cash                         $622 00                $20,637 00 Xenia, OH
4/30/2018    C         220      Deposit         S      ,A       J          $11,750 00               $32,387 00 Total Deposit $19,650 Bank of America, a/c 1387
4/30/2018    C         114      Deposit         S      ,A       J           $7,900 00               $40,287 00 Total Deposit $19,650 Bank of America, a/c 1387
 5/9/2018    C                                  Cash                        $1,000 00               $41,287 00 Vienna, VA
5/10/2018    D         101                      Freeman, Ian                            -$40,000 00 $1,287 00 Cheshire County Federal Credit Union
5/11/2018    D                                  JoAnn Stores                                 -$7 98 $1,279 02
5/12/2018    D                                  ATM Fee                                      -$1 00 $1,278 02
5/12/2018    D         ATM                      Withdrawal                                 -$263 50 $1,014 52
5/12/2018    D                                  ATM Fee                                      -$2 00 $1,012 52
5/14/2018    D         102                      Freeman, Ian                             -$1,000 00     $12 52
5/14/2018    D                                  Dunkin                                      -$14 73     -$2 21
5/17/2018    C                                  Cash                        $1,050 25                $1,048 04 Huntsville, AL
5/17/2018    C                                  Cash                        $1,000 00                $2,048 04 Houghton Lake, MI
5/17/2018    C                                  Cash                        $2,000 00                $4,048 04 Waco, TX
5/17/2018    C                                  Cash                        $1,780 00                $5,828 04 Princeton, MN
5/18/2018    C                                  Cash                         $840 00                 $6,668 04 Rancho Cucano, CA
5/18/2018    C                                  Cash                        $3,000 00                $9,668 04 Springfield, MO
5/18/2018    C                                  Cash                        $1,031 00               $10,699 04 Austin, TX
5/18/2018    C                                  Cash                        $2,000 00               $12,699 04 Springfield, MO
5/18/2018    C                                  Cash                        $1,380 00               $14,079 04 Bartlesville, OK
5/18/2018    C                                  Cash                        $2,999 00               $17,078 04 Anchorage, AK
5/18/2018    C                                  Cash                       $12,000 00               $29,078 04 West Jordan, UT
                                                                                                               DL UT              08/2022
5/18/2018 C                                    Cash                           $600 00               $29,678 04 Stockton, CA
5/18/2018 D                                    Share Deposit Reversal                   -$12,000 00 $17,678 04 DL UT              08/2022
5/18/2018 C                                    Cash                         $5,000 00               $22,678 04 DL UT              08/2022
                                                                                                               West Jordan, UT
5/18/2018    C                                 Cash                         $2,450 00               $25,128 04 DL UT              08/2022
                                                                                                               West Jordan, UT
5/22/2018    D         ATM                     Withdrawal                                  -$300 00 $24,828 04
5/25/2018    D          103                    Freeman, Ian                             -$24,567 00   $261 04 Cheshire County Federal Credit Union
5/29/2018    D         ATM                     Withdrawal                                  -$260 00      $1 04
 6/5/2018    D        4397032                  Crypto Church of NH                           -$1 04      $0 00 Cashier's Check amount $6 04, $5 00 balance in
                                                                                                               Savings Acccount $5 00 was deposited into savings
                                                                                                               account on 1/11/2018

                                                        Totals             $78,417.25   -$78,417.25




as of July 16, 2019
